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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                              LONDON DIVISION

U.S. EQUAL EMPLOYMENT               )
OPPORTUNITY COMMISSION,             )
                                    )
            Plaintiff,              )          Civil Action No. 6:20-cv-00163-KKC
                                    )
                                    )
      v.                            )
                                    )
WALMART, INC.                       )
                                    )
                                    )
            Defendant.              )
___________________________________ )

                                  CONSENT DECREE

      This cause of action was initiated on August 3, 2020, by the Equal Employment

Opportunity Commission (“EEOC” or “the Commission”), an agency of the United

States Government, alleging that Defendant Walmart, Inc. (“Walmart”) engaged in

unlawful employment practices in violation of Title VII of the Civil Rights Act of 1964

and Title I of the Civil Rights Act of 1991.

      Specifically, the EEOC alleged that Walmart violated Title VII by using a

physical abilities test (PAT) at its grocery distribution centers nationwide that had a

disparate impact on female orderfiller applicants. Walmart denies any violation with

respect to its use of the physical abilities test and the hiring of grocery orderfiller

applicants.

      The parties desire to settle this action amicably and stipulate to the entry of

this Consent Decree as final and binding between them. As used herein, “Walmart”

shall mean Walmart, Inc., as well as any of its directors, officers, employees, agents,
                                                                                  Exhibit A
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shareholders, successors, assigns, operating entity, division, franchise subsidiaries

and affiliates, and their successors and assigns; and, any officer, director, trustee,

agent, employee, or insurer of an entity encompassed by this paragraph.

        In consideration of the mutual promises of each party to this Consent Decree,

the sufficiency of which is hereby acknowledged, the parties agree as follows, the

Court finds appropriate, and it is therefore ORDERED, ADJUDGED AND DECREED

that:

        1.    The Court has jurisdiction of the subject matter of this action and over

the parties, venue is proper, and all administrative prerequisites have been met.

        2.    This Consent Decree may be entered into without findings of fact and

conclusions of law having been made and entered by the Court.

        3.    The Court, having examined the terms of this Consent Decree, finds it is

reasonable, just, and in accordance with Title VII.

        4.    The Court further finds that entry of this Consent Decree will further

the objectives of Title VII and will be in the best interest of the parties, those for

whom the EEOC seeks relief, and the public.

        5.    Neither the EEOC nor Walmart shall contest the validity of this Consent

Decree, or the jurisdiction of the United States District Court to enforce this Consent

Decree and its terms, or the right of either party to file a motion to enforce, compel

and/or for sanctions upon the breach of any term of this Consent Decree by Walmart

or the EEOC.




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GENERAL PROVISIONS AND DEFINITIONS

      6.     “Eligible Claimant” refers to a female who: (a) applied for the position of

orderfiller at a Walmart grocery distribution center between February 1, 2010 and

the time Walmart ceases use of the physical abilities test; (b) did not move forward in

the hiring process due to being “non-competitive” on the PAT; and, (c) submits a

timely claim form, release and tax-reporting document to the Claims Administrator

as stated herein.

      7.     “Effective Date” shall mean the date this Consent Decree is docketed by

the clerk of court after it is signed and/or receives approval from the Court.

      8.     This Consent Decree resolves all matters raised in Civil Action Number

6:20-cv-00163 and EEOC Charges 474-2010-01239 and 474-2010-01240. This Consent

Decree also terminates the EEOC’s investigation of Walmart’s physical abilities test

and releases claims by the Charging Parties and all other applicants to the extent

that a Charging Party or applicant signs a Release in accordance with this Consent

Decree. This Consent Decree does not resolve any other charge of discrimination or

litigation against Walmart that is currently pending before the EEOC.

SCOPE AND DURATION

      9.     The provisions contained herein are effective immediately upon the date

this Consent Decree is docketed by the clerk of court after it is signed and/or receives

approval from the Court.

      10.    The duration of this Consent Decree shall be two (2) years from the

Effective Date (“the Duration”) unless there is an open dispute under paragraphs 50


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to 54, in which case the Consent Decree shall be extended until the dispute is

resolved.

      11.    This Consent Decree shall apply to all Walmart grocery distribution

centers currently in existence, any that may come into existence during the Duration

of this Consent Decree and grocery distribution centers that no longer exist, but

which existed at any time between 2010 and the Effective Date of this Consent

Decree.

INJUNCTIVE RELIEF

      12.    Walmart, its officers, agents, servants, employees, successors, and

assigns, and all those in active concert or participation with them, or any of them,

shall cease use of all physical ability testing currently being used for purposes of

hiring grocery-distribution-center orderfillers no later than one hundred twenty (120)

days after the Effective Date of this Consent Decree.

      13.    For five (5) years after the Effective Date of this Consent Decree,

Walmart, its officers, agents, servants, employees, successors, and assigns, and all

those in active concert or participation with them, or any of them, are enjoined and

restrained from administering or implementing any physical ability testing for

purposes of hiring grocery distribution-center orderfillers.

      14.    Walmart, its officers, agents, servants, employees, successors, and

assigns, and all those in active concert or participation with them, or any of them, are

enjoined and restrained from engaging in any employment practice that discriminates

against employees or job applicants who oppose any practice made unlawful by Title


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VII. Walmart is also enjoined and restrained from engaging in any employment

practice that discriminates against any job applicant, employee or other person

because he or she made a charge, or participated, testified or assisted the Commission

in any manner, or sought or received relief under this Consent Decree, the

administrative proceedings preceding this action, or in any other proceeding under

Title VII.

MONETARY RELIEF

        15.   Walmart shall pay a total of twenty million dollars ($20,000,000.00) into

a Qualified Settlement Fund (QSF) as part of the resolution of this litigation. The

money paid into the QSF shall constitute back pay to be distributed to Eligible

Claimants. The money in the QSF shall be held in a high-yield, interest-bearing

account and all interest earned on the settlement fund shall accrue to the settlement

fund.

        16.   Award criteria and all distributions of monetary relief to and among

Eligible Claimants will be determined at the sole discretion of the EEOC. Walmart

shall have no role in determining whether someone is an Eligible Claimant or

amounts payable to such persons, and Walmart shall not object to the EEOC’s

determinations.

CLAIMS PROCESS

        17.   Within thirty (30) days of the Effective Date, the parties shall select a

mutually agreed upon Claims Administrator to administer the claims process and




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payments to claimants as designated by the EEOC. Within fourteen (14) days of being

selected, the Claims Administrator shall establish the QSF.

      18.    Walmart shall complete payment into the QSF via wire transfer no later

than sixty (60) days after the establishment of the QSF by the Claims Administrator.

The Claims Administrator shall promptly notify EEOC after Walmart has completed

payment into the QSF.

      19.    Walmart shall pay all costs up to two hundred fifty thousand dollars

($250,000.00) incurred by the Claims Administrator in the course of carrying out its

duties under this Consent Decree. The Claims Administrator shall:

              a.    mail notices and forms to Eligible Claimants;

              b.    receive claim forms;

              c.    transmit notification of monetary awards;

              d.    issue checks to Eligible Claimants from the QSF;

              e.    withhold appropriate taxes on all backpay awards, pay the

                    employer’s share of FICA and other employer taxes from funds

                    provided by Walmart, and issue appropriate tax reporting forms

                    to Eligible Claimants;

              f.    prepare and file all appropriate tax filings and reports, including

                    but not limited to tax returns required to be filed by the

                    settlement fund and W-2 forms for all payments from the

                    settlement fund; and

              g.    perform other tasks as it, or the EEOC may deem necessary to


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                      facilitate the claims process.

      20.      Within thirty (30) days of cessation of the PAT but no later than one

hundred thirty days (130) days from the Effective Date of this Consent Decree,

Walmart shall submit to the EEOC an Excel spreadsheet that contains, to the extent

that Walmart has such information, the following information as to each individual

who did not self-identify to Walmart as “male” and who applied for an open orderfiller

position at a Walmart grocery distribution center between February 1, 2010 and the

time Walmart ceased use of the PAT, and who did not move forward in the hiring

process due to being deemed “non-competitive” on the physical ability test

(“Applicant”):

               a.    first and last name;

               b.    social security number;

               c.    date of birth;

               d.    last known residential address;

               e.    last known telephone/cell number;

               f.    date of application;

               g.    distribution center applied to; and

               h.    date physical ability test was taken.

Walmart warrants that it will provide to the EEOC all of the information listed above

that it has in its possession for each Applicant and that it will not withhold any such

information.




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      21.    Within thirty (30) days of receipt of an Excel spreadsheet from the

EEOC identifying potential Eligible Claimants, the Claims Administrator shall send

each individual identified in the spreadsheet: (1) a notice informing them of the

settlement and providing information about submitting a claim on the settlement

fund, and (2) a questionnaire to be returned to the Claims Administrator, and (3) the

notice from Walmart advising that it does not require physical ability testing for

purposes of hiring grocery distribution center orderfillers. The Claims Administrator

shall work with the EEOC to develop the notice and questionnaire (items 1 and 2). To

provide the best notice practicable, before any mailing to such individuals, the Claims

Administrator shall run the list of potential Eligible Claimants through the United

States Postal Service’s National Change of Address database (“NCOA”).

      22.    The Claims Administrator shall make diligent efforts to provide notice of

the settlement to any individual whose notice is returned as undeliverable, including

the use of skip trace resources, the NCOA database, and additional mailing, to locate

individuals and provide notice. The Claims Administrator shall periodically update

the spreadsheet with the most current address information available. Within thirty

(30) days of the time that the Claims Administrator has exhausted efforts to locate

potential Eligible Claimants and the deadline to return questionnaires has passed,

the Claims Administrator shall provide a copy of a revised Excel spreadsheet to the

EEOC which contains all potential Eligible Claimants who have been located and who

have indicated an interest in participating in the settlement.




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      23.    Within thirty (30) days of receipt of the revised Excel spreadsheet of

potential Eligible Claimants identified in paragraph 22, the EEOC shall provide the

Claims Administrator with a “Distribution List” in Excel format that notes the

amount of back pay to be distributed to each potential Eligible Claimant. Within

thirty (30) days of receiving this “Distribution List,” the Claims Administrator shall

notify each potential Eligible Claimant via first class mail of the estimated amount of

her payment. Along with the notice of estimated award, the Claims Administrator

shall mail to each potential Eligible Claimant all applicable tax reporting forms and a

release. The release is attached as Attachment A.

      24.    Potential Eligible Claimants shall have sixty (60) days to return a

completed tax reporting form and release to the Claims Administrator. Any potential

Eligible Claimant who fails to return the required forms by the deadline shall be

ineligible to receive any relief under this Consent Decree, except that the Claims

Administrator shall engage with any Eligible Claimant who timely responded but

returned a deficient tax reporting form and/or release and provide an additional

thirty (30) days to properly complete and return such forms. The Claims

Administrator shall consult with the EEOC regarding any additional exception(s) to

the untimely receipt of the required form(s) and prior to making any final

determination that a received document is in any way deficient, and/or that an

individual is ineligible to participate in the settlement fund. The Claims

Administrator shall notify individuals deemed ineligible to participate in the




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settlement fund that their claims are untimely or otherwise deficient and that they

shall not receive a monetary award.

      25.    Within thirty (30) days after the last deadline in paragraph 24, the

Claims Administrator shall update the “Distribution List” to specify all Eligible

Claimants deemed to have timely and properly responded.

      26.    Within thirty (30) days of the Claims Administrator updating the

“Distribution List” as required by paragraph 25, the Claims Administrator shall

provide a copy of it to the parties and notify Walmart of its amount of applicable taxes

(e.g., FICA) to be paid to the QSF. Within thirty (30) days of receipt of this

information from the Claims Administrator, Walmart will wire transfer its amount of

applicable taxes (e.g., FICA) for deposit into the QSF.

      27.    Within ten (10) days of Walmart wire transferring its amount of

applicable taxes (e.g., FICA) into the QSF, the Claims Administrator shall issue to

each individual on the updated “Distribution List,” an award check and a copy of the

notice required by paragraph 35. Checks and notices shall be sent via first class mail,

in the amounts designated by the EEOC. Copies of this correspondence shall

simultaneously be provided to the EEOC’s Regional Attorney for the Indianapolis

District, Kenneth Bird, Equal Employment Opportunity Commission, 101 W. Ohio

Street, Suite 1900, Indianapolis, Indiana, 46204. A copy shall also be e-mailed to

EEOC counsel Aimee L. McFerren at aimee.mcferren@eeoc.gov and monitoring-

EEOC-INDO@eeoc.gov.




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      28.    Each check will remain valid for one hundred twenty (120) days. To the

extent any check may need to be reissued, the EEOC will so notify the Claims

Administrator.

      29.    At least every thirty (30) days after the Claims Administrator issues

checks pursuant to paragraph 27, the Claims Administrator shall identify any

check(s) not negotiated and/or returned non-negotiated to allow the tracking of

remaining funds. In the event there is a question regarding whether a check has been

negotiated, the EEOC and the Claims Administrator will work together to determine

when payment was rendered, including obtaining a copy of the canceled check. If any

checks are returned as undeliverable, the Claims Administrator will attempt to find

an updated address. If an updated address can be found, the check shall be re-mailed.

      30.    On a quarterly basis throughout the Duration of this Consent Decree,

until no funds remain in the QSF, the Claims Administrator shall notify the EEOC of

any remaining amount available in the settlement fund. If there are any unallocated

funds remaining in the settlement fund after all reasonable efforts have been made to

locate Eligible Claimants, and secure completed claim and tax reporting forms and

releases, the Claims Administrator, upon direction from the EEOC, shall issue a

second distribution to the Eligible Claimants who received initial payments under

paragraph 27. Checks shall be sent via first class mail, in the amounts designated by

the EEOC. Copies of these checks shall simultaneously be provided to the EEOC’s

Regional Attorney for the Indianapolis District, Kenneth Bird, Equal Employment

Opportunity Commission, 101 W. Ohio Street, Suite 1900, Indianapolis, Indiana,


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46204. A copy shall also be e-mailed to EEOC counsel Aimee L. McFerren at

aimee.mcferren@eeoc.gov and monitoring-EEOC-INDO@eeoc.gov. Each check will

remain valid for one hundred twenty (120) days. To the extent any check may need to

be reissued, the EEOC will so notify the Claims Administrator.

      31.    If there are any unallocated funds remaining in the settlement fund

after all reasonable efforts have been made to issue a second distribution to Eligible

Claimants as described in paragraph 30 above, the Claims Administrator, upon

direction from the EEOC, shall distribute the remaining balance to the New

Opportunity School for Women based in Berea, Kentucky.

      32.    All Eligible Claimants must execute the attached release as a condition

of receipt of monetary payment.

      33.    Any allocation paid to a deceased Eligible Claimant shall be made

payable to the estate of the deceased Eligible Claimant upon timely receipt by the

Claims Administrator of: (i) proper written proof of the estate’s entitlement to receive

the deceased Eligible Claimant’s assets and, (ii) the decedent’s prior execution of the

attached release.

      34.    The Claims Administrator shall be responsible for preparing and filing

all appropriate tax filings and reports, including, but not necessarily limited to, W-2

forms for all Eligible Claimants for their payments from the settlement fund, as well

as any required for the settlement fund. The Claims Administrator shall be

responsible for reporting and remitting to the appropriate taxing authorities the




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employer’s share of taxes or contributions required to be paid by Walmart in a timely

manner after receipt of the amount due for those payments from Walmart.

NOTIFICATIONS

      35.    Within thirty (30) days after the Effective Date of this Consent Decree,

and for the Duration of the Consent Decree, Walmart shall post in an employee

breakroom at each grocery distribution center an eight and a half (8 ½) inches by

eleven (11) inches laminated copy of the notice, attached as Attachment B. If the

notice becomes defaced, missing, or illegible, Walmart will replace it with a clean copy

as promptly as practicable. Failure to immediately replace the posting at an

individual facility will not constitute a breach of this Decree.

      36.    Each Eligible Claimant shall receive written notification that Walmart

does not require physical ability testing for purposes of hiring grocery distribution

center orderfillers. The written notification shall be distributed by the Claims

Administrator along with the materials listed in paragraph 21. The content of the

notice is attached as Attachment C.

      37.    For the Duration of this Consent Decree, Walmart shall include a notice

on its Career Preference intranet for job applicants stating that it does not require

physical ability testing for purposes of hiring grocery distribution center orderfillers.

COMPLAINTS CONCERNING DISCRIMINATION BECAUSE OF SEX

      38.    For the Duration of this Consent Decree, Walmart shall maintain a

centralized written or electronic record of any and all complaints to Walmart’s Global

Ethics regarding hiring discrimination into orderfiller positions at a Walmart grocery


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distribution center on the basis of sex (“Sex Discrimination Complaint”). This record

shall contain for each complaint, to the extent provided to Walmart by the

complainant:

      a.     the name of the individual making the complaint;

      b.     the individual’s contact information;

      c.     the individual’s relationship to Walmart (e.g., applicant);

      d.     the date on which the complaint was made;

      e.     the location where the complained-of conduct occurred;

      f.     a summary of the complaint (including the identify of all individuals

             involved);

      g.     the name and title of the employee receiving the complaint;

      h.     a summary of any investigation undertaken by Walmart into the

             complaint; and

      i.     a summary of the outcome of the complaint.

For the Duration of the Decree, Walmart shall retain any non-privileged documents

created as part of Walmart’s receipt, investigation, and/or resolution of all such

complaints concerning sex discrimination.


TRAINING


      39.    Within sixty (60) days of the Effective Date, Walmart shall provide

training to all employees who have any responsibility for hiring grocery orderfillers,

or managing or supervising grocery orderfillers. If providing training is not feasible

within sixty (60) days of the Effective Date due to continuation or another “wave” of
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the global COVID-19 pandemic, Walmart will provide such training as soon as

reasonably possible, but no later than one hundred fifty (150) days of the Effective

Date. The training shall cover:

      a.     The terms of this Decree, including cessation of the PAT;

      b.     Ensuring that hiring of grocery orderfillers is done without

             discrimination on the basis of sex; and,

      c.     Providing clear and accurate information about grocery orderfiller job

             requirements and qualifications.

      40.    The EEOC has approved Walmart’s proposed training materials for

paragraph 39; Walmart agrees that future trainings will be substantially similar to

the approved training materials in content. Walmart will maintain records of the

identities of all persons who receive the training.

      41.    Should Walmart hire any individual with responsibility for hiring

grocery orderfillers, supervising grocery orderfillers, or compliance with this Decree

during the term of the Decree, or newly assign any employee those such

responsibilities, Walmart shall provide the training described in paragraph 39 to that

individual within thirty (30) days of the date of the individual’s hire or assignment. If

providing training is not feasible within thirty (30) days of the new hire due to

continuation or another “wave” of the global COVID-19 pandemic, Walmart will

provide such training as soon as reasonably possible, and no later than one hundred

twenty (120) days from the individual’s hire or new assignment date.




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      42.    Annually for the Duration of the Consent Decree, Walmart shall provide

training on what constitutes an unlawful employment practice under Title VII to all

employees who have any responsibility for hiring grocery orderfillers, or managing or

supervising grocery orderfillers. At a minimum, the training shall cover:

      a.     Title VII’s prohibitions against sex discrimination;

      b.     Ensuring that hiring is done without discrimination on the basis of sex;

             and,

      c.     Proper handling of complaints of sex discrimination from applicants and

             employees.

      43.    The EEOC has approved Walmart’s proposed training materials for the

training in paragraph 42 and Walmart agrees that future trainings will be

substantially similar to the approved training materials in content. Walmart will

maintain records of the identities of all persons who receive the training.

      44.    Should Walmart hire any individual with responsibility for hiring

grocery orderfillers, supervising grocery orderfillers, or compliance with this Decree

during the term of the Decree, or newly assign any employee those such

responsibilities, Walmart shall provide the training described in paragraph 42 to that

individual within thirty (30) days of the date of the individual’s hire or assignment.

If providing training is not feasible within thirty (30) days of the new hire due to

continuation or another “wave” of the global COVID-19 pandemic, Walmart will

provide such training as soon as reasonably possible, and no later than one hundred

and twenty (120) days of hire or new assignment date.


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MONITORING AND REPORTING

      45.    Within ten (10) days of cessation of all physical ability testing, and no

later than one hundred thirty days (130) days from the Effective Date of this Consent

Decree, Walmart shall certify to the EEOC, in writing, compliance with the testing

cessation required by paragraph 12.

      46.    Within thirty (30) days of the Effective Date of this Consent Decree,

Walmart shall certify to the EEOC, in writing, that the notices required by

paragraphs 35 and 37 have been properly posted, including identifying the locations

where notices have been posted.

      47.    During the duration of this Consent Decree, Walmart shall provide two

      reports containing the following:

      a.     As to each grocery distribution center, the total number of orderfillers

             employed, the sex of each orderfiller hired, and the date hired.

      b.     Verification that all training required under this Consent Decree in the

             previous twelve (12) months has occurred;

      c.     Verification of compliance with the notice posting requirements in

             paragraphs 35 and 37 of this Consent Decree; and,

      d.     A summary of all Sex Discrimination complaints processed pursuant to

             paragraph 38 of this Consent Decree, including a summary of the

             information required by paragraphs 38 (a)-(i).

The first report required by this paragraph shall be due twelve (12) months from the

Effective Date of the Consent Decree and the second report shall be due twenty-two


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(22) months from the Effective Date of the Consent Decree. The reports shall be

submitted to the EEOC’s Regional Attorney for the Indianapolis District, Kenneth

Bird, Equal Employment Opportunity Commission, 101 W. Ohio Street, Suite 1900,

Indianapolis, Indiana, 46204. A copy shall also be e-mailed to EEOC counsel Aimee L.

McFerren at aimee.mcferren@eeoc.gov and monitoring-EEOC-INDO@eeoc.gov. Upon

written request by the EEOC, Walmart shall produce records concerning the persons

required to be identified pursuant to paragraph 38 of this Consent Decree.

COSTS

      48.    Each party to this Consent Decree shall bear its own attorneys’ fees and

costs associated with this litigation, except as noted in paragraph 53 regarding

dispute resolution.

NOTIFICATION OF SUCCESSORS

      49.    Walmart shall provide prior written notice to any potential purchaser of

its business, or any part thereof, or a purchaser of all of Walmart’s assets, and to any

other potential successor, of EEOC’s Complaint, and the existence and contents of the

Consent Decree.

DISPUTE RESOLUTION

      50.    The Court retains jurisdiction over this action for purposes of

enforcement during the Duration of this Consent Decree and will have available

powers to enforce the Consent Decree, including but not limited to monetary

sanctions, injunctive relief, and extension of the term of the Consent Decree. The




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matter may be administratively closed but will not be dismissed during the Duration

of this Consent Decree.

      51.    Either party may petition the Court to enforce the terms of this Consent

Decree as to any alleged breach of which one party has notified the other party in

writing not less than thirty (30) days before the expiration of this Consent Decree and

after following the notice process outlined in paragraph 52 and allowing the other

party at least thirty (30) days in which to make a good faith attempt to cure the

alleged breach.

      52.    In the event that either party believes that the other party has failed to

comply with any provision(s) of the Consent Decree, the party will notify the other

party, which will make a good faith attempt to cure the alleged breach of the Consent

Decree within thirty (30) days of notification.

      53.    If the parties cannot resolve their dispute in good faith as outlined in

paragraph 52, a party may file a motion with the Court seeking remedies for the

alleged non-compliance and for the other party to show cause why it should not be

found in contempt.

      54.    If one party moves to enforce the Decree, and the Court determines that

the other party has not complied with this Consent Decree and orders relief, the party

in breach shall pay the other party’s costs and attorney’s fees.

IT IS SO ORDERED, ADJUDGED, AND DECREED.

Dated: September 9, 2020
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Copies to:

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                                   Attachment A


                                 Release of Claims




       In consideration for $ ________________________ paid to me by
__________________, in connection with the resolution of EEOC v. Walmart, Inc.,
Civil Action No. 6:20-cv-00163, and EEOC Charge No. 474-2010-01239 and EEOC
Charge No. 474-2010-01240, I waive and release my right to recover for any claims
of sex discrimination arising under Title VII of the Civil Rights Act of 1964 that I
had against Walmart, Inc. prior to the date of this release and that were included in
the claims alleged in EEOC’s complaint in EEOC v. Walmart, Inc., Civil Action No.
6:20-cv-00163, and EEOC Charge No. 474-2010-01239 and EEOC Charge No. 474-
2010-01240.


Date:                                    Signature:

Print Name:




                                                                            Exhibit A
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                                     Attachment B

                                EMPLOYEE NOTICE

This notice to all employees of Walmart is being posted and provided as part of a
Consent Decree resolving a lawsuit under Title VII of the Civil Rights Act of 1964,
between Walmart and the United States Equal Employment Opportunity
Commission (EEOC).
EEOC alleged that Walmart violated Federal law by using a physical abilities test
as part of its hiring process at its grocery distribution centers that had a disparate
impact on female orderfiller applicants. Walmart denied any violation of the law in
its use of the physical abilities test and the hiring of grocery orderfillers.
As part of the resolution of this lawsuit, Walmart has agreed to cease use of any
physical abilities testing as part of its hiring process across all Walmart facilities
and for all positions.
Federal law requires that there be no discrimination against any employee or
applicant for employment because of sex, race, national origin, color, religion, age,
genetic information, or disability. Employees are also protected from retaliation for
complaining about unlawful discrimination or for otherwise opposing unlawful
discriminatory conduct.
Walmart shall comply with such Federal law in all aspects, and it will not take any
action against employees because they have exercised their rights under the law by
filing charges or cooperating with the U.S. Equal Employment Opportunity
Commission or by otherwise opposing employment practices made unlawful under
Title VII of the Civil Rights Act of 1964, as amended, the Americans with
Disabilities Act, the Age Discrimination in Employment Act, or the Equal Pay Act.
The Equal Employment Opportunity Commission maintains offices throughout the
United States. EEOC can be reached at (800) 669-4000 or, for the hearing impaired,
at (800) 669-6820 (TTY) or via e-mail at info@eeoc.gov. The EEOC is a federal law-
enforcement agency and charges no fees to receive and investigate complaints.
Additional information about EEOC is available at www.eeoc.gov, including how to
file a charge online.
SIGNED this ______day of          , 2020.
                                         ______________________________________
                                         Cassie Bell, Sr. Director of HR
                                         for the Grocery DC network

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                                    Attachment C


Please be advised that as of (date) Walmart no longer requires physical ability
testing for purposes of hiring grocery distribution center orderfillers.
If you would like to apply for an open orderfiller position at one of Walmart’s
grocery distribution centers, you will not be required to take a physical ability test.




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